           Case 2:18-cr-00256-JCM-VCF Document 164
                                               163 Filed 07/29/20
                                                         07/23/20 Page 1 of 1




 1

 2

 3

 4

 5
                      IN THE UNITED STATES DISTRICT COURT
 6
                                   DISTRICT OF NEVADA
 7
     United States of America,                 )     Case No. 2:18-cr-256-JCM-VCF
 8                                             )
                           Plaintiff,          )
 9                                             )     ORDER
     vs.                                       )
10                                             )
     Douglas Haig,                             )
11                                             )
                          Defendant.           )
12                                             )
13
           Upon Motion of the Defendant, without objection by the Government or the
14
     Pretrial Services Officer, and good cause appearing,
15
           THEREFORE, IT IS ORDERED that the Defendant’s Unopposed Motion to
16
     Modify Release Conditions (ECF 161) is granted.
17
           IT IS FURTHER ORDERED that the Defendant is allowed to have contact
18
     with Andrew Fowler.
19                 July 29, 2020.
            DATED: July       , 2020.
20

21

22

23

24                                                 Honorable Judge James C. Mahan
                                                   United States District Court
25

26
